






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00176-CR






Curtis Adams, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-11-904084, HONORABLE BOB PERKINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Curtis Adams appeals a judgment of conviction dated November 17, 2011.  Notice
of appeal was due 30 days from the date sentence was imposed.  See Tex. R. App. P. 26.2(a).  Notice
of appeal in this case was due by December 19, 2011, and not filed until February 17, 2012.  Because
the notice of appeal was not timely filed, this Court does not have jurisdiction over the appeal.
Accordingly, we dismiss this appeal for want of jurisdiction.


						__________________________________________

						Diane M. Henson, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed for Want of Jurisdiction

Filed:   May 9, 2012

Do Not Publish


